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                                          UNITED STATES BANKRUPTCY COURT
                                                       SOUTHERN DISTRICT OF FLORIDA
                                                             MIAMI DIVISION
In re:                                                                 :
                                                                       :                   Case No. 22-13937-AJC
         RAFAEL J. RAMOS                                               :
         VANESKA M. FERRIS                                             :                   Chapter 7
                                                                       :
Debtors.                                                               :
                                                                       /

                                                SUBPOENA FOR RULE 2004 EXAMINATION
 TO:       Rafael J. Ramos                               Robert Sanchez, Esq.
           Vaneska M. Ferris                             Law Office of Robert Sanchez, PA
           19400 Turnberry Way, #821                     355 West 49th Street
           Aventura, FL 33180-2682                       Miami, FL 33012

 X Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure and Local Rule 2004-1.
PLACE                                                                                         DATE AND TIME
    Robert A. Angueira, P.A.                                                                     August 31, 2022
    By Zoom Web Conferencing
                                                                                                 10:30 A.M.

The examination will be recorded by this method: Court Reporter

 X Production: You, or your representatives, must provide 3 days prior to the examination the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:
         All items described in Exhibit “A” of the Notice of Taking Rule 2004 Examination Duces Tecum that is being filed and served
                                                    contemporaneously with this Subpoena.

        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.
    ISSUING OFFICER SIGNATURE AND TITLE                                    DATE

    /s/ Robert A. Angueira, Esq.
    Counsel for Scott N. Brown, Trustee                                    July 12, 2022
    ISSUING OFFICER’S NAME, ADDRESS AND PHONE NUMBER

    Robert A. Angueira, Esq.
    16 SW 1st Avenue
    Miami, FL 33130
    305-263-3328


                                  Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the inspection
of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                                    PROOF OF SERVICE

I received this subpoena for: RAFAEL J. RAMOS AND VANESKA M. FERRIS on July 12, 2022.
 X I served the subpoena by delivering a copy to the named person as follows: Served via U.S. Mail, First Class, to :

     Rafael J. Ramos                          Robert Sanchez, Esq.
     Vaneska M. Ferris                        Law Office of Robert Sanchez, PA
     19400 Turnberry Way, #821                355 West 49th Street
     Aventura, FL 33180-2682                  Miami, FL 33012

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ N/A .


 I declare under penalty of perjury that this information is true and correct.

 Date: July 12, 2022

                                                                  /s/ Robert A. Angueira, Esq.
                                                                  Robert A. Angueira, P.A.
                                                                  16 SW 1st Avenue
                                                                  Miami, FL 33130
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                             Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)
(c) Place of compliance.                                                                           (ii) disclosing an unretained expert's opinion or information that
                                                                                          does not describe specific occurrences in dispute and results from the
(1) For a Trial, Hearing, or Deposition. A subpoena may command a person                  expert's study that was not requested by a party.
to attend a trial, hearing, or deposition only as follows:                                  (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or                      described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                                modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly               conditions if the serving party:
transacts business in person, if the person                                                       (i) shows a substantial need for the testimony or material that
         (i) is a party or a party’s officer; or                                          cannot be otherwise met without undue hardship; and
         (ii) is commanded to attend a trial and would not incur substantial                      (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                                  compensated.

(2) For Other Discovery. A subpoena may command:                                          (e) Duties in Responding to a Subpoena.
   (A) production of documents, or electronically stored information, or things at a
place within 100 miles of where the person resides, is employed, or regularly             (1) Producing Documents or Electronically Stored Information. These
transacts business in person; and                                                         procedures apply to producing documents or electronically stored
   (B) inspection of premises, at the premises to be inspected.                           information:
                                                                                              (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                          documents must produce them as they are kept in the ordinary course of
                                                                                          business or must organize and label them to correspond to the categories
(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney responsible
                                                                                          in the demand.
for issuing and serving a subpoena must take reasonable steps to avoid imposing
                                                                                              (B) Form for Producing Electronically Stored Information Not
undue burden or expense on a person subject to the subpoena. The court for the
                                                                                          Specified. If a subpoena does not specify a form for producing
district where compliance is required must enforce this duty and impose an
                                                                                          electronically stored information, the person responding must produce it
appropriate sanction — which may include lost earnings and reasonable attorney's
                                                                                          in a form or forms in which it is ordinarily maintained or in a reasonably
fees — on a party or attorney who fails to comply.
                                                                                          usable form or forms.
                                                                                              (C) Electronically Stored Information Produced in Only One Form.
(2) Command to Produce Materials or Permit Inspection.                                    The person responding need not produce the same electronically stored
   (A) Appearance Not Required. A person commanded to produce documents,                  information in more than one form.
electronically stored information, or tangible things, or to permit the inspection of         (D) Inaccessible Electronically Stored Information. The person
premises, need not appear in person at the place of production or inspection unless       responding need not provide discovery of electronically stored
also commanded to appear for a deposition, hearing, or trial.                             information from sources that the person identifies as not reasonably
   (B) Objections. A person commanded to produce documents or tangible things             accessible because of undue burden or cost. On motion to compel
or to permit inspection may serve on the party or attorney designated in the              discovery or for a protective order, the person responding must show
subpoena a written objection to inspecting, copying, testing or sampling any or all       that the information is not reasonably accessible because of undue
of the materials or to inspecting the premises — or to producing electronically           burden or cost. If that showing is made, the court may nonetheless order
stored information in the form or forms requested. The objection must be served           discovery from such sources if the requesting party shows good cause,
before the earlier of the time specified for compliance or 14 days after the              considering the limitations of Rule 26(b)(2)(C). The court may specify
subpoena is served. If an objection is made, the following rules apply:                   conditions for the discovery.
         (i) At any time, on notice to the commanded person, the serving party may
move the court for the district where compliance is required for an order                 (2) Claiming Privilege or Protection.
compelling production or inspection.                                                         (A) Information Withheld. A person withholding subpoenaed
         (ii) These acts may be required only as directed in the order, and the order     information under a claim that it is privileged or subject to protection as
must protect a person who is neither a party nor a party's officer from                   trial-preparation material must:
   significant expense resulting from compliance.
                                                                                                 (i) expressly make the claim; and
                                                                                                 (ii) describe the nature of the withheld documents,
(3) Quashing or Modifying a Subpoena.
                                                                                          communications, or tangible things in a manner that, without revealing
   (A) When Required. On timely motion, the court for the district where
                                                                                          information itself privileged or protected, will enable the parties to
compliance is required must quash or modify a subpoena that:
                                                                                          assess the claim.
         (i) fails to allow a reasonable time to comply;
                                                                                             (B) Information Produced. If information produced in response to a
         (ii) requires a person to comply beyond the geographical limits
                                                                                          subpoena is subject to a claim of privilege or of protection as trial-
   specified in Rule 45(c);
                                                                                          preparation material, the person making the claim may notify any party
         (iii) requires disclosure of privileged or other protected matter, if no
                                                                                          that received the information of the claim and the basis for it. After
   exception or waiver applies; or
                                                                                          being notified, a party must promptly return, sequester, or destroy the
         (iv) subjects a person to undue burden.
                                                                                          specified information and any copies it has; must not use or disclose the
   (B) When Permitted. To protect a person subject to or affected by a subpoena,
                                                                                          information until the claim is resolved; must take reasonable steps to
the court for the district where compliance is required may, on motion, quash or
                                                                                          retrieve the information if the party disclosed it before being notified;
modify the subpoena if it requires:
                                                                                          and may promptly present the information under seal to the court for the
         (i) disclosing a trade secret or other confidential research,                    district where compliance is required for a determination of the claim.
   development, or commercial information; or                                             The person who produced the information must preserve the information
                                                                                          until the claim is resolved.
                                                                                          (g) Contempt. The court for the district where compliance is required –
                                                                                          and also, after a motion is transferred, the issuing court – may hold in
                                                                                          contempt a person who, having been served, fails without adequate
                                                                                          excuse to obey the subpoena or an order related to it.
                                                                 Access to Subpoena Materials
                                                             Fed. R. Civ. P. 45(a) Committee Note (2013)
     •    Parties desiring access to information produced in response to this subpoena will need to follow up with the party serving the subpoena to obtain such access.
     •    The party serving the subpoena should make reasonable provisions for prompt access.
     •    The court for the district where compliance with the subpoena is required has authority to order notice of receipt of produced materials or access to them.
